43 F.3d 1466
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ronald Avon JOHNSON, Plaintiff Appellant,v.Sandra A. O'CONNOR, State Attorney for Baltimore County;Ronald E. Moats, Acting Warden RoxburyCorrectional Institute, Defendants Appellees.
    No. 94-6895.
    United States Court of Appeals, Fourth Circuit.
    Submitted November 17, 1994.Decided December 16, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  John R. Hargrove, Senior District Judge.  (CA-93-3972-HAR)
      Ronald Avon Johnson, appellant pro se.  John Joseph Curran, Jr., Atty. Gen., Stephanie Judith Lane-Weber, Asst. Atty. Gen., Baltimore, MD, for appellees.
      D.Md.
      DISMISSED.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
    
    PER CURIAM
    
      1
      Appellant noted this appeal outside the thirty-day appeal period established by Fed.  R.App. P. 4(a)(1), failed to obtain an extension of the appeal period within the additional thirty-day period provided by Fed.  R.App. P. 4(a)(5), and is not entitled to relief under Fed.  R.App. P. 4(a)(6).  The time periods established by Fed.  R.App. P. 4 are "mandatory and jurisdictional."  Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960)).  Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    